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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          EASTERN DISTRICT OF VIRGINIA
                                                                                                   ICT COURT
                                                                                                   RGINIA
                                    Alexandria Division



  UNITED STATES OF AMERICA


                 V.                                 Criminal No. l:18-cr-89
                                                   (Hon. T. S. Ellis III)
  JERRY CHUN SHING LEE,

                 Defendant.



                                STATEMENT OF FACTS


        The United States and the defendant, JERRY CHUN SHING LEE (hereinafter,

 "the defendant"), agree that at trial, the United States would have proven the following

 facts beyond a reasonable doubt with admissible and credible evidence:

         1.     From on or about April 26,2010 to on or about January 15, 2018,in the

 Eastem District of Virginia and elsewhere,including locations ojutside ofthe jurisdiction

 ofany particular state or district, the defendant did unlawfully and knowingly conspire

 with others to communicate, deliver, and transmit to a foreign government, to wit: the

 Government ofthe People's Republic of China("PRC"),and representatives, officers,

 and agents thereof, directly and indirectly, documents, writings and information relating

 to the national defense ofthe United States, with the intent and reason to believe that

 such documents, writings and information were to be used to the injury ofthe United

 States and to the advantage ofa foreign government, namely,the Government ofthe

 PRC.


         2.     The defendant is a naturalized United States citizen who principally

 resided in Hong Kong during the timeffame ofthe conspiracy. He entered duty with the
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